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From: Dennis Cariello

Sent: Tuesday, June 16, 2020 10:15 PM

To: Finley, Steve <Steve.Finley@ed.gov>

Ce: Mangold, Donna <Donna.Mangold@ed.gov>
Subject: RE: Florida Coastal School of Law Update

Donna & Steve,

| hope all is well. | appreciate the extra time to get this in. [hope the information is helpful. Please let me know if you want to discuss or if | have
missed something you were looking for.

1. Which entity is intended to be a party to the Settlement Agreement ~ Infilaw Systems, LLC, or Infilaw Settlement LLC, or both?

The settlement is with InfiLaw Settlement LLC. As discussed in my March 26, 2020 email, the entity was solely created to facilitate the provision of
collateral for the Letter of Credit for Florida Coastal School of Law. The letter of credit is held in the name of InfiLaw Settlement LLC.

2. What does InfiLaw Settlement, LLC own, if anything?

Infilaw Settlement LLC is not part of the ownership structure for Florida Coastal and is an independent entity used to provide collateral as stated
above. Other than as provided, it does not own anything.

3. If Infilaw Systems, LLC is a party to the Settlement Agreement, please ensure it is included on the structure chart described in the next
item.

InfiLaw Systems, LLC was created on 9/12/19 and is not a part of the structure for ownership of Florida Coastal. This entity was closed as of May 29,
2020. As such, it should not be part of the settlement agreement.

4, For purposes of the contemplated change where Sterling Capital Partners LP is relinquishing (or has relinquished) its voting rights, please
provide a structure chart for before and after the proposed change that provides the following information, including any changes in
voting rights as well as any changes in equity interests:

a. An ownership structure chart before and after the proposed transaction.

b. The first pre-transaction chart(s) should show the information as of January 1, 2016 and additional pre-transaction charts should

show any changes to the information between January 1, 2016 and present.

c. Each entity in the ownership structure should be identified by its legal name, with the state of organization or incorporation and

the date of organization or incorporation for each.

d. Asa part of, and at the bottom of each structure, please identify the OPE 1D number of any institutions involved in the
transaction; the highest level owner(s) should be shown at the top of the structure, with the Level One owner at the bottom of
the structure just above the name and OPE ID of the institution.

. Indicate the percentage of ownership for each higher level owner to its lower level entity on the line connecting the higher level

owner to its lower level entity (or the institution).

. For Sterling Capital Partners, LP, please identify all higher levels of ownership (up through any natural person) with at least a

20% interest (individually, or together with immediate family members) in the limited partnership.

g. Pledse include in the structure chart any other participating institution which is owned directly or indirectly by any owner in the
currently existing ownership structure if the ownership interest is at least 20% in the other participating institution(s) or any
lower level entity.

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See Attached Chart. The Commonwealth of Pennsylvania Public School Employees’ Retirement System holds 23.7% of limited partnership interests in
Sterling Capital Partners L.P., which has been the case since the inception of the investrient in Infilaw. Asa limited partner, this interest is an entirely
passive economic interest. No other person or entity holds a 20% interest in Sterling Capital Partners L.P.

Note, in accordance with directions from ED analyst Meghan Gladden in Desember 2045 (and similar guidance from analyst Barbara Moore in 2013).
the school was not required to report non-voting, minority ownership interests in this case, The school mistakenly reported such non-voting,
minority interests held by the ABRY family of investment funds under the entity “ABRY Partners, Inc.” ABRY Partners only held non-voting, preferred
equity and was removed from the ownership chart on or about February 5, 2016 (and “end dated” on August 25, 2011). In addition, to facilitate the
restoration of Title IV eligibility to Charlotte School of Law, ABRY sold all of its non-voting, preferred equity to Infilaw Corporation on June 16, 2017.
In addition, Ares Capital Corporation, which also only held non-voting, preferred equity, sold all of its interests to members of management on
December 23, 2017.

It is my understanding that, as a result of discussions in 2016, the school also provided the Department with extensive additional information
regarding other persons and entities with non-voting interests in Infilaw Holding, LLC.

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in addition, | did not think you wanted me to include the ownership of Charlotte School of Law or Arizona Summit School of Law as those are closed
schools. If you need me to revise the chart | can do so.

5, Describe the sunsetting provisions for Sterling Capital Partners, LP.

A dormant fund is a fund whereby the fund’s period of existence has terminated by virtue of the partnership agreement with the investors, and
therefore the only action it is permitted to take is to liquidate remaining assets in an orderly fashion in order to be able to dissolve the fund. In the
case here, the Limited Partnership Agreement (LPA) for Sterling Capital Partners, L.P., provides that the “Partnership shall terminate and be dissolved
on the tenth anniversary of the Effective Date... ; provided that the term of the Partnership may be extended beyond the tenth anniversary by the
General Partner in its discretion for three additional one-year periods.” The initial term of the Partnership was set to expire August 11, 2013 and was
extended for three additional years until August 11, 2016. Upon the end of the term, the LPA provides that the Partnership shall be liquidated in an
orderly manner. The general partner has been liquidating other assets that remained at the end of the term, and the only remaining asset in the fund
is as of today is Infilaw. As soon as the fund is able to dispose of its interest in InfiLaw the fund will be dissolved. As the Department knows, Infilaw
has attempted to obtain ABA acquiescence in the past for transactions that would address this situation and facilitate the ultimate acquisition by
Campbellsville University.

6. Please provide an update on Campbellsville, including any update to the planned timeline, level of interest, and any feedback on the
transaction from the American Bar Association or other state or accrediting entity.

Campbellsville has increased their commitment, by recommending a board member who has been seated, providing a Joint Marketing Agreement
with Florida Coastal, and upgrading their accreditation status with SACS to include Doctoral programs. The parties are evaluating what, if any, effect
COVID19 has on the potential transaction, but Florida Coastal is in the process of preparing a request for acquiescence to be submitted this summer
to the ABA. Given the sensitive nature of discussion of this type, | would be happy to discuss this further with you via telephone.

| hope this helps. Please let me know if you need anything else. We are working on the document request from the BDTR group now. Also, where
are we on the settlement agreement? | thought you all were revising it (It seems some of these questions may be geared towards that).

Let me know if you want to discuss any of this.
Thanks,

Dennis

From: Dennis Cariello

Sent: Monday, June 15, 2020 8:51 PM

To: Finley, Steve <Steve.Finley@ed,.gov>

Cc: Mangold, Donna <Penna.Mangold@ed.goy>
Subject: RE: Florida Coastal School of Law Update

  
     

Steve — | am drafting this now. I’m very sorry and this is completely my fault (| am working
through some family health issues). | will get you a response to this tomorrow once the
client signs off.

Dennis

Dennis M. Cariello
Shareholder

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From: Finley, Steve <Steve.Fin ey@ed.gov>

Sent: Monday, June 1, 2020 3:28 PM

To: Dennis Cariello <dennis.cariello@hmbr.com>
Ce: Mangold, Donna <Donna. Mango d@ed.gov>
Subject: RE: Florida Coastal School of Law Update

Hi Dennis --

| do not believe that FSA has received the items that are described in my May 12 email to you. 1am following up on those requests and adding to
them. Please advise your clients that the responses to the May 12 email should be provided as soon as possible, preferably within the next few days.

In addition, FSA has received notice from the accreditor that Florida Coastal School of Law has been placed on Show-Cause status, Please provide
with the responses to the May 12 email the action letter issued by the accreditor, along with any other related letters or email exchanges (including
any responses that FCSL may have submitted to the notification of the adverse action).

Based upon a review of the information provided previously, the following answers to questions and related documents are also requested to be
provided no later than Friday, June 12:

. Which entity is intended to be a party to the Settlement Agreement — Infilaw Systems, LLC, or Infilaw Settlement LLC, or both?

. What does Iniflaw Settlement, LLC own, if anything?

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date of organization or incorporation for each.

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highest level owner(s) should be shown at the top of the structure, with the Level One owner at the bottom of the structure just above
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6. Please provide an update on Campbelisville, including any update to the planned timeline, level of interest, and any feedback on the
transaction from the American Bar Association or other state or accrediting entity.

You can reach out to Donna or me if you have any questions concerning these items.

Steve

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